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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 NYAMEKEY ALLEN, and
 JENNIFER WALLOCH,
                                                         CIVIL ACTION
      Plaintiffs,                                  FILE NO.: 1:18-CV-00079-ELR
                                                                           '
 v.

 CRETE CARRIER CORPORATION,
 and VANESSA LYNN HELTON

      Defendants.

                                              ORDER
      THIS MATTER Having Come Before the Court on the Joint Stipulation And

Consent Motion to Dismiss With Prejudice, submitted by all Plaintiffs and all

Defendants ("the parties"), and upon consideration thereof and for good cause shown,

      IT IS HEREBY ORDERED that the Parties' Joint Stipulation and Consent

Motion to Dismiss With Prejudice [Doc. 40] is GRANTED. The Court-orders that

all claims shall be dismissed, with prejudice, with each party to- bear its own

attorneys' fees, expenses, and costs.

      ENTERED this       2/o..fl, day   off   UJ'\j)        2019.




                                   Honorable Eleanor L. Ross
                                   United States District Judge




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